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             EXHIBIT 13
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                                                                            Page 1
        IN THE UNITED STATES DISTRICT COURT
           FOR THE DISTRICT OF COLUMBIA
------------------------x
AFL-CIO, et al.,              :
             plaintiffs,      :
v.                            :   CASE NO.
DEPARTMENT OF LABOR,          :   1:25-cv-00339-JDB
et al.,                       :
             Defendant.       :
------------------------x




              30(b)(6) Deposition of
     DEPARTMENT OF HEALTH AND HUMAN SERVICES
              through JENNIFER WENDEL
              Tuesday, April 8, 2025
                     1:46 p.m.




BEFORE: Cassandra E. Ellis, RMR, RDR, CRR,
RSA, CA-CSR 14448, WA-CCR, HI-CSR




Job No.: 10519


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 1                 The 30(b)(6) Deposition of
 2   DEPARTMENT OF HEALTH AND HUMAN SERVICES
 3   through JENNIFER WENDEL, taken before
 4   CASSANDRA E. ELLIS, Registered Professional
 5   Reporter, Registered Merit Reporter,
 6   Registered Diplomate Reporter, Certified
 7   Realtime Reporter, Realtime Systems
 8   Administrator; California Certified
 9   Shorthand Reporter; Washington State
10   Certified Court Reporter; Hawaii Certified
11   Shorthand Reporter; Notary Public, held in
12   Washington, D.C., on Tuesday, April 8, 2025,
13   commencing at 2:58 p.m. and concluding at
14   4:12 p.m.
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                                                                               Page 3
 1                A P P E A R A N C E S
 2       ON BEHALF OF THE PLAINTIFFS:
              ZOILA E. HINSON, PRO HAC VICE
 3            ALEXA MILTON, PRO HAC VICE
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 8       ON BEHALF OF THE PLAINTIFFS:
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 9            MARK B. SAMBURG, ESQUIRE
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14
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15            BRADLEY P. HUMPHREYS, ESQUIRE
              BENJAMIN S. KURLAND, ESQUIRE
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 1                  INDEX TO EXAMINATION
 2   30(b)(6) Deposition of
 3   DEPARTMENT OF HEALTH AND HUMAN SERVICES
 4   through JENNIFER WENDEL
 5   EXAMINATION                                        PAGE
 6        By Ms. Hinson                                 6
 7        By Mr. Humphreys                              50
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 9                      INDEXED PAGES
10                                                      PAGE
11   JENNIFER WENDEL, sworn                             6
12   REPORTER CERTIFICATE                               54
13   INSTRUCTIONS TO WITNESS (none)
14   DECLARATION UNDER PENALTY OF PERJURY               53
15   ERRATA SHEET                                       55
16
17                  INFORMATION REQUESTED
18                             None
19
20         WITNESS INSTRUCTED NOT TO ANSWER
21                                               PAGE
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 2                   JENNIFER WENDELL
 3               Tuesday, April 8, 2025
 4   MARKED              DESCRIPTION                   PAGE
 5   Exhibit 8   Table of Investments                  9
 6   Exhibit 9   List                                  27
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 1                 P R O C E E D I N G S
 2               30(b)(6) Deposition of
 3     DEPARTMENT OF HEALTH AND HUMAN SERVICES
 4               through JENNIFER WENDEL
 5     having been sworn, testified as follows:
 6                       EXAMINATION
 7   BY MS. HINSON:
 8         Q       Good afternoon.
 9         A       Good afternoon.
10         Q       Could you please state and
11     spell your name for the record?
12         A       Jennifer Wendel,
13     J-e-n-n-i-f-e-r, W-e-n-d-e-l.
14         Q       And do you understand that
15     today you are testifying on behalf of the
16     Department of Health and Human Services
17     about the topics listed in the deposition
18     notice?
19         A       Yes, I am.
20         Q       So I've got a few ground rules,
21     just to make the next hour or so of our
22     lives go as smoothly as possible.
23                 First, please continue to
24     give a verbal answer instead of
25     shaking or nodding your head, so that


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                                                                                Page 7
 1   the court reporter can get what we're
 2   saying; can you do that?
 3        A       Yes, I can.
 4        Q       And it's important that we
 5   don't speak over each other, so I will
 6   try to let you finish speaking before I
 7   ask another question, and can you let me
 8   try and finish speaking before you
 9   answer?
10        A       Yes.
11        Q       Great.
12                Are you represented by counsel
13   today?
14        A       Department of Justice.
15        Q       Great.      So your counsel might
16   object to a question that I ask, that's
17   fine, he's making an objection for the
18   record, but unless he specifically
19   instructs you not to answer you should go
20   ahead and answer the question; can you do
21   that?
22        A       Yes.
23        Q       If at any time you need to take
24   a break, please just let me know.             All I
25   ask is that if you take a break you just


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                                                                               Page 8
 1   answer any question that's pending at
 2   that time; can you do that?
 3        A       Yes.
 4        Q       If you don't understand a
 5   question, just let me know and I'll try
 6   to rephrase it, but if you don't tell me
 7   I'm going to assume that you understand
 8   the question as I've asked it; is that
 9   fair?
10        A       Yes.
11        Q       Along the same lines, if at any
12   point in the deposition you remember
13   something that you forgot to say earlier
14   or you want to clarify any testimony from
15   earlier, that's fine, just let me know
16   and we can put it on the record, so
17   please just do let me know.
18        A       Yes.
19        Q       Do you understand that you're
20   testifying under penalty of perjury
21   today?
22        A       Yes.
23        Q       Is there any reason you cannot
24   give complete and truthful testimony
25   today?


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                                                                                  Page 9
 1         A       No.
 2         Q       Did you speak to anyone in
 3     preparation of your deposition today?
 4         A       Yes.
 5         Q       And who was that?
 6         A       The HHS OGC as well as DOJ OGC.
 7         Q       Aside from your attorneys, did
 8     you speak with anyone else in preparation
 9     for your deposition today?
10         A       Yes, I spoke to some of the
11     system owners that are responsible for
12     the case, responsible for the systems.
13         Q       Great.       I was about to ask
14     about that.
15         A       Yes.
16                 (Exhibit 8 was marked for
17         identification.)
18   BY MS. HINSON:
19         Q       Okay.       And I see you did bring
20     a document with you, which we have
21     labeled -- we have labeled Exhibit 8.
22                 Thank you.
23                 And are you familiar with this
24     lawsuit?
25         A       Yes.


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                                                                              Page 10
 1         Q      And without revealing to me
 2   anything your counsel may have said to
 3   you, what do you know about this lawsuit?
 4         A      My understanding of this
 5   lawsuit is that there is a question on
 6   whether certain HHS employees on the DOGE
 7   team should have been given access to
 8   systems.
 9         Q      I actually want to start with
10   Exhibit 8, which is this table that
11   you've brought with us today or for us
12   today.
13                Can you explain what this
14   is?
15         A      Yes, I put this table together,
16   which is a summary of all of the system
17   names with a description of the system as
18   well as the information that PII or the
19   PHI, that's in that system, also a
20   summary of the access requirements and
21   then who was granted access to those
22   systems.
23         Q      The far left column says:
24   Current UII?
25         A      That's the investment


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                                                                               Page 11
 1   identifier.
 2        Q       What -- what does that mean?
 3        A       An investment means that it's a
 4   system that we track across the
 5   department, and so this came from --
 6   originally came from our database that we
 7   track the systems, the first two columns.
 8        Q       Okay.       Thank you.
 9                And to the best of your
10   knowledge, is the information on this
11   table accurate?
12        A       Yes.
13        Q       Okay.       I wanted to ask
14   specifically about access to HIGLAS and
15   IDR, which HIGLAS is the health care
16   integrated general ledger accounting
17   system and IDR is the integrated data
18   repository; do you understand that?
19        A       Yes.
20        Q       In the normal course, is
21   someone granted access to IDR without
22   going through the IDR training?
23        A       No, they are normally granted
24   training for those systems.
25        Q       Okay.       And I guess, similar


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                                                                                Page 12
 1     question for HIGLAS, is in the normal
 2     course is a user granted HIGLAS without
 3     going through the HIGLAS security
 4     briefing?
 5         A        They go through the briefing.
 6         Q        Okay.      Based on the
 7     interrogatory responses that have been
 8     given in this case, it appears that
 9     Mr. Aram Moghaddassi was granted access
10     to these systems without going through
11     those trainings.
12                  Should he have been granted
13     access without going through those
14     trainings?
15                  MR. HUMPHREYS:      Objection as
16         to characterization and
17         foundation.
18   BY MS. HINSON:
19         Q        You can answer.
20         A        May I refer to the
21     interrogatory for --
22         Q        Sure.      If you look at page 12
23     of the interrogatory responses, which are
24     Exhibit 7.
25         A        Thank you.


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                                                                               Page 13
 1         Q       And what it says is that just
 2     that he has access to the systems and
 3     then it says what training he received,
 4     and it does not include the security
 5     briefing or the IDR training.
 6         A       No, the interrogatory does not.
 7     I would have to verify if he received
 8     that specific training.
 9         Q       But if he didn't he should not
10     have received access to IDR and HIGLAS;
11     is that correct?
12                 MR. HUMPHREYS:      Objection to
13         form.
14   BY MS. HINSON:
15         Q       You can answer.
16         A       He should have received the
17     training.
18         Q       I understand that.       I think I'm
19     asking something a little bit different.
20                 If -- assuming
21     Mr. Moghaddassi did not receive the
22     training, should he have been granted
23     access to IDR or HIGLAS?
24         A       I would have to look at the
25     specific requirements of that training to


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                                                                               Page 14
 1   find out if it would require -- what type
 2   of access that had the training
 3   specifications.          I do not know that.
 4        Q       Sorry, can you just clarify
 5   what kind of access had the training
 6   specifications?
 7        A       Right.       There's certain --
 8   sometimes training is required for
 9   specific access types, and I got to know
10   the specifications for IDR, I just don't
11   know those specific requirements.
12        Q       Okay.       Okay.   I want to switch
13   gears a little bit and ask about remote
14   access.     Have any -- actually, okay, when
15   I spoke to your colleague we established
16   eventually a list of people that we were
17   referring to as the DOGE team affiliates,
18   and I'm going to go over that again with
19   you, just so that we can talk about their
20   access to different systems and make sure
21   we're on the same page; does that work?
22        A       Yes.
23        Q       Okay.       So those people are Aram
24   Moghaddassi, Amy Gleason, Brad Smith,
25   Luke Farritor, Edward Coristine, Marko


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                                                                              Page 15
 1   Elez, Kyle Schutt, Conor Fennessy, Zach
 2   Terrell, Rachel Riley and Jeremy Lewin,
 3   okay?
 4                   So if I uses the term DOGE team
 5   affiliates will you understand me to be
 6   referring to those 11 people?
 7          A        Based on what you just said,
 8   yes.
 9          Q        Great.   Have any of the DOGE
10   team affiliates set up remote access to
11   any HHS system?
12          A        Not to my knowledge.
13          Q        Have they requested remote
14   access to any HHS system?
15          A        They have not, to my knowledge.
16          Q        Have any of them set up a
17   backdoor to the system?
18          A        They have not.
19                   MR. HUMPHREYS:   Objection,
20          vague.
21          A        To my knowledge, they have not.
22          Q        And what do you understand a
23   backdoor to a system to be?
24          A        A backdoor to the system would
25   mean that they would be going through


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 1     their interrogatory responses, that
 2     referred to them, have any of them
 3     copied, even within HHS, any HHS records?
 4            A        No.
 5                     MR. HUMPHREYS:     Objection.
 6                     Objection, form.
 7            A        To my knowledge, no, they have
 8     not.
 9            Q        Okay.   And have any of them
10     shared, even within HHS, any HHS records?
11            A        To my knowledge, they have not.
12            Q        Okay.   Have any of the DOGE
13     team affiliates removed any records from
14     any HHS system?
15            A        To my knowledge, they have not.
16            Q        And have any of the DOGE team
17     affiliates shown someone from outside of
18     HHS any records from sensitive system?
19                     MR. HUMPHREYS:     Objection,
20            vague.
21   BY MS. HINSON:
22            Q        You can answer.
23            A        To my knowledge, they have not.
24            Q        The interrogatory responses at
25     11 say that Mr. Farritor's access to HHS,


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 1   which I believe stands for HHS
 2   consolidated acquisition system, has been
 3   deactivated; is that accurate?
 4        A       Yes, it is.
 5        Q       Why was it deactivated?
 6        A       It was deactivated for the fact
 7   that it was no longer needed -- no longer
 8   needed access.
 9        Q       Why had he needed access
10   before?
11        A       He needed access because under
12   the executive order HHS was required to
13   look at systems for waste, fraud and
14   abuse, and the systems -- with a system
15   that maintained contract information.
16        Q       And why did he no longer need
17   access to it?
18        A       My understanding is that he had
19   finished his initial analysis.
20                MS. HINSON:      Okay.    I'm
21        going to give you a -- what
22        exhibit are we on -- 9.          Can you
23        mark this as Exhibit 9.
24                (Exhibit No. 9 was marked
25   for identification.)


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                                                                                Page 28
 1   BY MS. HINSON:
 2         Q       Okay.       You've been handed a
 3     sheet of paper, it's been marked as
 4     Exhibit 9, this is just a list of all the
 5     sensitive systems at HHS that were in
 6     HHS's interrogatory responses, to the
 7     best of my knowledge.
 8                 I put it together, so are there
 9     any systems that are missing from this
10     list, as far as you recall?
11                 MR. HUMPHREYS:       Feel free to
12         check, if you need to.
13   BY MS. HINSON:
14         Q       So looks like I might be
15     missing one.
16                 MR. HUMPHREYS:       Yes.
17         A       The one that you are missing is
18     part of our EHR -- is part of our HR
19     systems.    Oh, excuse me, I'm sorry, no,
20     this is the workforce analysis work bench
21     system.
22         Q       Okay.
23         A       Part of NIH's HR systems.
24         Q       Okay.       And it's the last one on
25     your chart?


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                                                                               Page 29
 1        A       That's correct.          That's
 2   correct.
 3        Q       Okay.       Thank you.     So in --
 4   aside from the 18 systems that I've
 5   listed here, and then also the workforce
 6   analytics bench system that you just
 7   pointed out, are there any other records
 8   with PHI or PII that any of the DOGE team
 9   affiliates have had access to?
10        A       Not to my knowledge.
11        Q       Okay.       Were the DOGE team
12   affiliates granted access to these
13   systems because of the executive orders
14   related to DOGE that the President has
15   issued?
16                MR. HUMPHREYS:       Objection to
17        the scope, but you can answer if
18        you know.
19        A       Yes, they were.
20        Q       And can you identify which
21   executive orders, to the best of your
22   ability?
23        A       There's three executive orders.
24        Q       Okay.
25        A       There was one on January 21st,


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 1     that established DOGE, then there was one
 2     on -- in February, that was regarding the
 3     payment managements about tracking
 4     contracts and grants and of getting
 5     approval, and then there was one in March
 6     regarding data silos.
 7         Q       Okay.       Were there any other
 8     reasons a DOGE team affiliate was granted
 9     access to one of these systems?
10                 MR. HUMPHREYS:       Objection as
11         to scope.
12   BY MS. HINSON:
13         Q       You can answer.
14         A       Not to my -- no, they were all
15     involved in those executive order
16     requirements.
17         Q       And just so I'm clear, I
18     understand that they were, because of the
19     executive orders, were they only because
20     of the executive orders or were there
21     also other reasons?
22                 MR. HUMPHREYS:       Same
23         objection.
24         A       My understanding is because
25     they were carrying out the work required


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                                                                               Page 31
 1   in the executive order.
 2        Q       Okay.       And only that?
 3        A       To my knowledge, yes.
 4        Q       Okay.       When HHS was deciding to
 5   grant DOGE team affiliates access to
 6   these systems did they -- or did HHS
 7   engage in an individualized review of the
 8   DOGE team affiliates' need for a specific
 9   system?
10                MR. HUMPHREYS:       Objection as
11        to scope and form.
12        A       Each system was not
13   individually reviewed, holistically.               The
14   individuals were reviewed to ensure,
15   before they were given accounts, that
16   they had completed the cyber security
17   training as well as signed the rules of
18   behavior.
19                And then they were granted
20   access to the systems requested based on
21   the needs to perform their duties.
22        Q       When you say they were granted
23   access to the systems requested, did the
24   DOGE team affiliates make those requests?
25        A       They did.


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                                                                               Page 32
 1        Q       Okay.       Do you know how they
 2   chose which systems to access?
 3                MR. HUMPHREYS:       Objection as
 4        to scope.
 5                You can answer.
 6        A       I don't know necessarily how --
 7   how they -- how they made the
 8   determination, but when I looked at those
 9   lists of systems there's very -- there's
10   many things that are in common with
11   determining if there is fraud, waste or
12   abuse for HHS, and these systems meet
13   those requirements.
14        Q       Sorry, can you clarify, what
15   requirements did they meet?
16        A       They wouldn't -- they would
17   give information for them to determine if
18   there was waste, fraud and abuse on the
19   information that's retained in these
20   systems.
21        Q       And what kind of information
22   are you referring to?
23        A       For an example would be the
24   acquisition lifecycle system, the -- the
25   CMS com system that has information on


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                                                                                Page 33
 1     contracting.
 2                  And so, therefore, they were
 3     looking at contracts to see if there was
 4     any waste, fraud or abuse with the
 5     contracts.
 6                  There are similar systems
 7     regarding grants.
 8         Q        And just so I'm clear, when you
 9     said they would be looking at that for
10     waste, fraud or abuse, were you
11     specifically told that that's why they
12     were requesting access to that system or
13     is it your inference that that's why they
14     requested access to that system?
15         A        I had read the executive order,
16     so I knew that that's what they were
17     doing, and so it was my inference that
18     that was why they were making those
19     requests.
20                  MS. HINSON:      Okay.   Can we
21         take a break?
22                  MR. HUMPHREYS:      Okay.
23                  (Recess.)
24   BY MS. HINSON:
25         Q        Okay.      Just a few more


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                                                                               Page 34
 1   questions.
 2                MR. HUMPHREYS:       Oh, I'm
 3        sorry, sorry, the witness would
 4        like to make a short
 5        clarification.
 6                MS. HINSON:       Okay.
 7        A       Yeah, I would like to clarify
 8   that when I was speaking about sharing
 9   data most of the access that we provided
10   to the DOGE team or that was provided was
11   for read only -- read only capabilities,
12   and any time access was given to somebody
13   for read only that -- there was no
14   ability to share that data or modify the
15   systems in any way, so I just wanted to
16   clarify that.
17        Q       Thank you.       Actually, to follow
18   up a little bit on -- on that, and some
19   of your testimony earlier, are the DOGE
20   team affiliates able to access HHS
21   records physically, outside of HHS?
22        A       I'm sorry, could you clarify
23   that?
24        Q       Sure.       Are DOGE team affiliates
25   able to take a laptop, physically, go


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                                                                               Page 35
 1   home and access HHS records on that
 2   laptop?
 3          A        Yes.
 4          Q        So I think you testified
 5   earlier that the DOGE team affiliates had
 6   not shown people outside of HHS records
 7   of HHS, is that an accurate description
 8   of your testimony?
 9          A        That they have not shared that
10   data, correct.
11          Q        Okay.    I think I wanted to ask
12   something slightly different, which
13   is have --
14          A        Okay.
15          Q        Do you know if the DOGE team
16   affiliates have literally just shown
17   someone, outside HHS, HHS records?
18                   MR. HUMPHREYS:    Object as to
19          scope.
20          A        I do not know that.
21          Q        Okay.    Thank you.
22                   Is it possible to access HHS
23   systems or HHS sensitive systems in a
24   manner that does not reveal a reviewable
25   log?


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                                                                               Page 36
 1        A       For these systems, no, there's
 2   not an ability to not have a log.
 3        Q       And that's true for all of the
 4   19 systems that we identified earlier?
 5        A       That is correct.
 6        Q       Okay.       We talked a little bit
 7   before about the need for DOGE team
 8   affiliates to access these systems.
 9                When a DOGE team affiliate
10   seeks access to a system are they
11   required to identify to someone the
12   particular reason they need to access the
13   system?
14        A       They speak with the system
15   owner to let them know why they're
16   requesting that, the system, in order to
17   get the access to the system.
18        Q       Does the system owner evaluate
19   whether that reason is valid or not?
20        A       Yes.
21        Q       And have -- has any system
22   owner denied a DOGE team affiliate access
23   to a system?
24        A       They have not.
25        Q       Okay.       What would be a reason


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                                                                               Page 37
 1   to deny a DOGE team affiliate access to
 2   the system?
 3                MR. HUMPHREYS:       Objection as
 4        to scope.
 5                You can answer.
 6        A       I do not know.
 7        Q       Okay.       Have the DOGE team
 8   affiliates used AI as part of their work
 9   at HHS with respect to the sensitive
10   systems -- with respect to the sensitive
11   systems?
12        A       To my knowledge, they have not.
13        Q       Okay.       Has HHS made any changes
14   to its practices about providing access
15   to records since January 19th, 2025?
16        A       No, they have not.
17        Q       Okay.       Are there other
18   employees at HHS whose requests for
19   access to sensitive systems is -- are
20   evaluated in the same manner as the DOGE
21   team affiliates?
22                MR. HUMPHREYS:       Objection as
23        to scope and form.
24        A       I'm not sure I'm following your
25   question.


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                                                                               Page 38
 1                Can you repeat that?
 2        Q       Yeah, I guess my understanding
 3   your testimony earlier is that the DOGE
 4   team affiliates identify the need to
 5   access the system and are able to choose
 6   the systems to access; is that correct?
 7        A       That is correct.
 8        Q       Okay.       Is that true for all HHS
 9   employees?
10                MR. HUMPHREYS:       Objection as
11        to scope.
12        A       No, it is not true, because
13   employees are brought in for different
14   reasons, in this case this team was
15   brought in to look across HHS at multiple
16   systems as compared to individuals who
17   are brought in potentially to work on
18   certain systems.
19                So they -- they -- their --
20   they may not be deemed access to any
21   system across HHS because they have
22   different employee -- employee-met
23   responsibilities.
24        Q       So is it fair to say that there
25   are different policies that apply to the


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                                                                               Page 39
 1   DOGE team affiliates with respect to
 2   access to sensitive systems than those
 3   that apply to other HHS employees?
 4                MR. HUMPHREYS:         Objection as
 5        to form.
 6        A       I don't believe that there's
 7   different policies.
 8        Q       Okay.       Why not?
 9        A       Because employees are brought
10   on and given access to the systems that
11   are part of their responsibilities.
12        Q       Mm-hmm.
13        A       Just like the DOGE team was
14   brought on and given access to the
15   systems that were part of their
16   responsibilities.
17                So the policy is the same, they
18   just have access to broad -- broader
19   amount of systems across the department.
20        Q       Are there any systems that the
21   DOGE team affiliates would not be granted
22   access to if they requested access?
23                MR. HUMPHREYS:         Objection as
24        to scope and speculative.
25        A       I do not know.


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                                                                               Page 40
 1         Q      Can you identify any systems
 2   that -- that they would be denied access
 3   to?
 4         A      They would -- yes, I can,
 5   actually, because we have systems that
 6   are at the classified level, and they
 7   would not be granted access to those
 8   systems because I do not believe they
 9   have classified access.
10         Q      And aside from classified
11   systems, are there any systems at HHS
12   that the DOGE team affiliates would be
13   denied access to?
14                MR. HUMPHREYS:       Objection as
15         to scope.
16         A      I do not know.       There's over
17   1200 systems, so I can't say that for
18   certain.
19         Q      But you can't identify any
20   specific systems today?
21         A      No, I cannot.
22         Q      Okay.       Has anyone at HHS raised
23   concerns about violations of the law
24   regarding the DOGE team affiliates'
25   actions at HHS?


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                                                                               Page 41
 1                 MR. HUMPHREYS:      Objection as
 2         to scope, and I'll instruct the
 3         witness not to answer.
 4                 (Instruction)
 5                 MS. HINSON:      Can we take a
 6         really short break?
 7                 (Recess.)
 8                 MS. HINSON:      Are we ready to
 9         go back on?
10                 MR. HUMPHREYS:      She would
11         like to make -- never mind, I'm
12         losing it.
13                 MS. HINSON:      Okay.
14                 THE WITNESS:      Okay.
15   BY MS. HINSON:
16         Q       Just a few more questions.
17                 Do DOGE team affiliates make
18     requests for access to systems in
19     writing?
20         A       It's been through e-mails.
21         Q       Through e-mails?
22                 So I take it there's not, like,
23     a formal form that they're filling out?
24         A       There is not.
25         Q       Has there been another position


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                                                                               Page 42
 1   at HHS that HHS views as needing access
 2   as broad as that given to the DOGE team
 3   affiliates?
 4                MR. HUMPHREYS:       Objection as
 5        to scope and form.
 6        A       Not to my knowledge.
 7        Q       Okay.       I wanted to ask about a
 8   couple of specific systems.
 9                Why did -- it looks like, based
10   on your chart and based on the
11   interrogatory responses, I'm looking at
12   the third page on the top, that Mr. Elez
13   and Mr. Moghaddassi both had access to
14   the national directory of the new hires;
15   is that correct?
16        A       That is correct.
17        Q       Why did they need access to the
18   national directory of new hires?
19        A       In order to determine if there
20   was potential waste, fraud and abuse
21   within the system.
22        Q       Was there any specific reason
23   to think there was waste, fraud and abuse
24   in the system?
25        A       Well, this system --


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                                                                                Page 43
 1                 MR. HUMPHREYS:       Objection as
 2         to scope.
 3                 Excuse me.
 4         A       This system documents child
 5     support, and it's an entitlement system,
 6     so they were looking at that system as an
 7     entitlement system to see if the payments
 8     led to any type of potential fraud, waste
 9     or abuse.
10         Q       And what, specifically, were
11     they looking for?
12                 MR. HUMPHREYS:       Objection as
13         to scope, and I'll instruct the
14         witness not to answer.
15                 MS. HINSON:       Brad, it goes
16         to their use of the systems.
17                 MR. HUMPHREYS:       Well, it
18         goes to their subjective intent in
19         the use of the systems, not how
20         they actually used them.
21                      (Instruction)
22   BY MS. HINSON:
23         Q       Okay.       What was HHS's
24     understanding of why they needed access
25     to the national directory of new hires?


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 1                MR. HUMPHREYS:      That's fine,
 2        go ahead.
 3        A       HHS's understanding is the fact
 4   that this system tracks child support
 5   payments and so, therefore, they were
 6   looking to see if there were any fraud,
 7   waste and abuse amongst the payments.
 8        Q       What kind of fraud, waste and
 9   abuse did HHS think might be in the
10   system?
11        A       I do not know.
12        Q       So why did HHS grant Mr. Elez
13   and Mr. Moghaddassi access to look for
14   waste, fraud and abuse?
15        A       Because the system is an
16   entitlement system that captures
17   financial data, and so they were looking
18   to see if it potentially would be a
19   system that had waste, fraud and abuse.
20        Q       First of all, what do you mean
21   by entitlement system?
22        A       An entitlement system is
23   a system -- some of the systems that
24   tracks if somebody is paid money, paid a
25   grant, right, so many of these systems


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                                                                              Page 45
 1   are entitlement systems, which has
 2   payments or tracks -- tracks funding
 3   exchanges.
 4        Q       So correct me if I'm wrong, but
 5   my understanding of what you're saying is
 6   there wasn't a specific reason that HHS
 7   thought there were waste, fraud and abuse
 8   in the system, but the fact that it was
 9   an entitlement system meant that the DOGE
10   team affiliates would be permitted to
11   check it for waste, fraud and abuse; is
12   that right?
13                MR. HUMPHREYS:      Objection as
14        to form.
15        A       That is correct.
16        Q       And then I wanted to also ask
17   about the -- oh, yes, sorry, one more
18   question about that one.
19                On the chart, it says, I
20   think it's in the fourth column from
21   the left, which is the PII/PHI column
22   it says:     National directory of new
23   hires, and a bracket, 2025 draft,
24   close bracket.
25                And I guess I'm just -- what


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 1   does the 2025 draft claim to mean?
 2        A       This is information that I
 3   pulled from the privacy impact
 4   assessments, and so there was a draft
 5   that we are finalizing that this is just
 6   the document that I pulled the
 7   information from.
 8        Q       Does this -- does the
 9   information in the national directory of
10   new hires change every year?
11        A       No, it does not.
12        Q       Okay.       Can you maybe explain to
13   me, I understand it's the -- the document
14   that you pulled the data from, but, like,
15   what is -- what does it mean to say, it's
16   a 2025 draft?
17        A       It's just -- it's in -- it's --
18   the draft hasn't been finalized yet.
19        Q       Okay.       Okay.   And then, on the
20   next page, it talks about the -- on
21   unaccompanied children, sorry,
22   unaccompanied alien children and
23   unaccompanied children portal, why -- and
24   I believe Mr. Schutt was granted access
25   to that; is that correct?


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                                                                              Page 47
 1        A       That is correct.
 2        Q       And why was he granted access
 3   to that?
 4        A       This one was -- he was granted
 5   access for this to make the determination
 6   that the system had any indication of
 7   waste, fraud or abuse.
 8        Q       Did HHS have any specific
 9   reason to believe that the system
10   contained evidence of waste, fraud or
11   abuse?
12                MR. HUMPHREYS:      Objection to
13        form.
14        A       To my knowledge, they did not.
15        Q       And so why did they grant
16   Mr. Schutt access to the system to check
17   for waste, fraud or abuse?
18        A       Often it was a situation where
19   they looked at the system from an audit
20   perspective, to see if there was any
21   indications of the potential for waste,
22   fraud and abuse.
23        Q       And when you're saying from an
24   audit perspective was for the DOGE team
25   affiliates doing the audit?


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                                                                              Page 48
 1        A        They were looking, yes, to see
 2   if this potentially had the indication of
 3   waste, fraud and abuse.
 4        Q        What kind of waste, fraud and
 5   abuse were they looking for?
 6        A        For this one, just reading
 7   through the information, give me one
 8   minute.
 9                 This one has the employment
10   information and sponsor information, so
11   it has financial account information in
12   that system, so it does track financial
13   information in that system.
14        Q        And whose financial information
15   does it track?
16        A        Has for the sponsors from an
17   unaccompanied child.
18        Q        And can you explain how that
19   would help identify waste, fraud and
20   abuse from the government?
21                 MR. HUMPHREYS:     Objection to
22        scope.
23        A        My understanding is they were
24   looking to see if the payments to the
25   sponsors were legal and legitimate.


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 1        Q        And they were basing that, in
 2   part, on the financial information of the
 3   sponsors?
 4                 MR. HUMPHREYS:     Objection as
 5        to scope.
 6        A        That's correct.
 7        Q        Did Mr. Schutt find any
 8   indications of waste, fraud or abuse in
 9   the unaccompanied children portal?
10                 MR. HUMPHREYS:     Objection as
11        to scope, instruct the witness not
12        to answer.
13                     (Instruction)
14                 MS. HINSON:     It goes
15        directly to the use of sensitive
16        systems.
17                 MR. HUMPHREYS:     No, it goes
18        to his findings, not how he used
19        the system, and I think that's
20        how -- his individual findings, I
21        don't think that's within the
22        topic.
23                 How he used the systems
24        would be what did he access, you
25        know, what did he look at, I don't


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